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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-152
               v.                             :
                                              :
JOSHUA LOLLAR                                 :
                                              :
                       Defendant.             :


                         Consent Motion Regarding Excludable Delay

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, with the consent of the defendant, Joshua Lollar, by and through his

attorney, Brian McDaniel, moves for the entry of an order in the interest of justice excluding,

pursuant to 18 U.S.C. 3161(h)(7), the period of delay resulting from the continuance of the date

for entry of the defendant’s guilty plea and sentencing (plea/sentencing).

       By Minute Order dated December 19, 2022, the Court set March 14, 2023 as the date for

entry of defendant’s guilty plea and sentencing. In addition, the Court, in the interests of justice,

excluded from the speedy trial clock the time between December 19, 2022 and the date of the

plea/sentencing, March 14, 2023. On March 10, 2023, defendant filed his Consent Motion to

Continue, Dkt. No 51, which the Court granted on March 12, 2023.

       The defendant, through counsel, has indicated that he wishes to proceed to enter his

guilty plea and be sentenced. The parties recently provided the Court a signed copy of the

Statement of Offense, on April 4, 2023, and sought available dates for the proceeding.

       The parties did not address excludable delay in the Consent Motion to Continue.

Therefore, we move for the entry of a minute order that, in the interests of justice, excludes the

delay from the initial date of the plea/sentencing, March 14, 2023, through the adjourned date the

Court sets for the entry of the guilty plea and sentencing.


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         Counsel has conferred with counsel for the defendant in this matter, who has consented to

the entry of the requested order.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                      By:                        /s/

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Dated:     April __, 2023




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